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                    UNITED STATES DISTRICT COURT
                      DISTRICT OF NEW HAMPSHIRE

UNITED STATES OF AMERICA         )
                                 )
                                 )
          v.                     )     Cr. No. 10-CR-00085-SM
                                 )
                                 )
BEATRICE MUNYENYEZI,             )
Defendant                        )

  GOVERNMENT’S OPPOSITION TO DEFENDANT’S MOTION FOR BAIL REVIEW
               PURSUANT TO 18 U.S.C. §3142(f)(2)(B)

     The United States of America, by and through Gretchen Leah

Witt, Attorney for the United States, Acting Under Authority

Conferred by 28 U.S.C. §515, and Special Assistant United States

Attorneys Aloke S. Chakravarty and Jeffrey Auerhahn, for the

District of New Hampshire, files this opposition to Defendant’s

motion seeking release from pre-trial detention.         As found by

Magistrate Judge Daniel J. Lynch, there are no conditions or

combination of conditions that will reasonably assure the

appearance of the Defendant or the safety of the community.

     The Defendant is charged in a two count indictment with

procurement of citizenship unlawfully.       The indictment describes

the Defendant’s personal participation in the genocide in Rwanda

in 1994, through, inter alia, incitement and advocacy of the

persecution and murder of Tutsis, the use of rape as a weapon of

the genocide, as well as personal participation in murder,

including the murder of a child.      In addition, the indictment

enumerated repeated instances of lying to officials of the United
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States government for the purpose of receiving immigration

benefits, including, ultimately, citizenship.

Basis for Detention

     Pursuant to 18 U.S.C. §3142(f), in determining whether any

conditions will secure the appearance of the Defendant and the

safety of the community, the Magistrate Judge considered whether

the Defendant, who has repeatedly lied to obtain benefits, can be

relied upon to comply with restrictions placed on her actions,

and conform her behavior to the Orders of this Court.           That

detention determination can be revisited when there is new

information which has a material bearing on the detention

decision which was unknown to the Defendant at the time of

initial determination.    18 U.S.C. §3142(f).

     The proffered evidence against the Defendant is compelling.

Several eye witnesses have identified the Defendant’s personal

actions in furtherance of the genocide, including acts of

violence, crimes of moral turpitude and dishonesty.         The self

evident risks to society by the release of a defendant accused of

these acts were assessed by the Magistrate Judge.         The

Defendant's role in these acts is supported by several witnesses,

including victims, perpetrators and others.        Most of the

individual witness have no relationship to each other and neither

did they have any opportunity to “compare notes” or otherwise

concoct a similar story.    In addition, none appear to have any


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personal motive to falsely accuse the Defendant.

     At paragraph 10 of the Affidavit of Special Agent Andersen

in support of the warrant to search Defendant’s residence, the

Special Agent stated as follows:

     The following information about MUNYENYEZI was
     developed from review of documentary evidence as well
     as several witness interviews in Rwanda. With regard
     to my statements regarding MUNYENYEZI’s activities
     during the Rwandan genocide, this is the result of
     interviews I conducted of different individuals who
     each were personally present during the time that
     MUNYENYEZI engaged in this conduct. For purposes of
     this affidavit, I will refer to only some of these
     witnesses and will refer to them as Witnesses W1-W71.
     I believe these witnesses are reliable because they are
     eyewitnesses for whom it is a great personal risk to
     submit to being a witness and because there is no
     motivation to provide false information, given that
     many of these witnesses currently reside in Rwanda and
     have no contact with MUNYENYEZI. In addition, before
     conducting the interviews of these witnesses, I did not
     announce the purpose of my questioning or the
     anticipated utility of statements being provided. In
     addition, most of these witnesses had no opportunity
     for contact with each other; therefore, the information
     each provided was based on his or her own experiences
     during the Rwandan genocide. Moreover, I have
     corroborated substantive information from each of these
     witnesses either through interview of other
     individuals, statements made before other tribunals, or
     from observations of documents and through other
     investigative steps.

     The potential penalty the Defendant faces creates a

compelling incentive to flee.     Should the Defendant be convicted,



1
 The seven witnesses discussed in the Affidavit are not all the
witnesses who have identified the role of the Defendant. There
are additional individuals who are potential trial witnesses who
are identified in the materials being produced to defense counsel
in discovery.

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she faces up to 10 years imprisonment on each count.2         In

addition to the possibility of substantial incarceration in the

United States, the Defendant would also be stripped of her

citizenship if she were convicted, and would then likely be

placed in immigration proceedings.      Although there is no

guarantee that she will be returned to Rwanda to face prosecution

for her role in the genocide, she should be concerned of that

possibility; she faces the possibility of a life sentence in

Rwanda, if that is where she is to be deported after proceedings

in the Immigration Court.

     In addition to the summary of the evidence of guilt, the

government presented additional evidence that the Defendant is

part of a support network in the diaspora that includes other

genocidaires.3   Consequently, the Defendant would be left with


2
 There is precedent in similar cases for a maximum sentence or a
sentence near the maximum. For example, last month, a former
Guatemalan soldier was sentenced to 10 years’ imprisonment for a
conviction for the same offense charged against Munyenyezi.
3
 It is typical for the perpetrators of atrocities to attempt to
dispute and discredit the testimonies of survivors and, in this
case, to re-characterize the targeted extermination of Tutsis in
Rwanda as a civil war. There is no question that the roadblocks
in Butare and elsewhere in Rwanda between April and early July
1994 targeted Tutsis. There is also no rational dispute that
there was a genocide in Rwanda during that time period and
hundreds of thousands of Tutsis were murdered by the Defendant
and those with similar beliefs. Although we are still awaiting
the verdict in the Defendant’s husband’s case, there have been
convictions and guilty pleas at the ICTR and other courts. (For
example, the Defendant’s friend and co-conspirator Desire
Munyaneza was convicted earlier this year in Canada for his role
in the genocide in Butare.) It is a matter of judicial notice to

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opportunity, incentive and capacity to flee, intimidate

witnesses, or to re-offend.

     The Defendant now raises two issues before the court which

she claims are newly discovered information which were

unavailable at the time of the initial detention hearing, and

that they have a material bearing on the issue of whether the

Defendant should be released.     The government disagrees, and the

issues which the Defendant now raises neither makes the Defendant

less of a danger or less likely to flee, nor does it undermine

the basis for detention relied upon by Magistrate Judge Lynch.

Moreover, the defendant has offered no new reasons to believe

that she is more likely to conform her behavior to any conditions

of release were they to be set by the court, and she has offered

no conditions that might be accepted by the Court as adequate.

1.   Defendant attacks the credibility of government witnesses
     because the Rwandan government must have influenced their
     testimony

     The Defendant's primary basis for bail review is the averred

revelation that the present Rwandan government regime is

totalitarian and biased against the Defendant.        This premise

becomes the foundation for the concomitant argument that because

of the present Rwandan regime's animosity, they must have

unfairly and surreptitiously influenced the testimony of over a


acknowledge the occurrence of the Rwandan genocide. The
characterization of the killing, however, has no bearing on the
detention determination.

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dozen Rwandan civilians.4       As further evidence of this, the

Defendant avers that a U.S. investigation could not have occurred

in Rwanda without manipulation by the Rwandan government, as

further evidenced by the fact that lawyer working for the United

Nations never learned of the Defendant's crimes until this

prosecution.     The Defendant's argument is fueled by assertions of

Rwandan intolerance for dissent, highlighted by high-profile

excesses of Rwandan law which allow prosecutions for denial of

the existence of genocide.5       Regardless of these allegations,

which resonate in a society where divergent beliefs are

protected, they are red herrings to the legal issues before the

court.    Stated bluntly, none of this “newly discovered

information” supports an argument that the testimony in this

case, let alone any other case, has been concocted or manipulated

by anyone.     Moreover, criticism of the current Rwandan government

for quashing dissent is not newly discovered information, indeed,

it is the raison d'etre of organizations and networks run by the


4
 While there is no evidence whatsoever to support the allegation
that the Rwandan government (or anyone else) did anything to
suggest to government witnesses what they should say, as is
discussed below, there is direct evidence that the Defendant
assisted in such a scheme involving testimony at her husband’s
trial at the ICTR.
5
 Although this might offend our notions of free speech, Rwanda is
actually not so unique in this attitude towards those who would
deny the historical fact of a genocide; in Germany and other EU
countries, Holocaust denial is a crime, largely in order to deter
the potential cultivation of the sentiments which could lead to
repetition of these horrific events.

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Defendant's family and friends.         This prosecution was

investigated and is being prosecuted by the United States; it is

not being brought by or on behalf of any other sovereign.

     The Defendant’s re-characterization of the genocide in

Rwanda as a “fratricide” is consistent with the actions of the

exiled members of the Hutu elite/genocidaires who continue their

desire and efforts against the current Rwandan regime.          Items

seized during the search of Defendant’s home establish that the

Defendant routinely characterizes the genocide as a “war,” which

started in 1990, that she is friendly with other convicted

genocidaires, and describes America as bolstering the Rwandan

regime.   The Defendant avoids description of any violence that

occurred during the genocide when discussing that time period in

her memoirs, and even one of her young children wrote a book

about why she considers America to be her “enemy” because it has

imprisoned her father.6    In considering the history and

characteristics of the Defendant and whether she is an

appropriate candidate for release, the Court can consider the

lessons she teaches her children about how they should view the

United States – the country that gave them refuge (and has

provided to them financial support and opportunities).



6
 In fact, the child’s father has been held in the custody of the
United Nations’ International Criminal Tribunal for Rwanda,
suggesting that the Defendant has taught her children that the
ICTR is a proxy for America.

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     This latter fact – that she views the United States as the

enemy – is not an Orwellian barometer of nationalistic loyalty,

rather, it is highly probative on the issue of whether the

Defendant is likely to flee, rather than take the chance of a

long sentence and being stripped of her citizenship.            She has no

real strong feelings of allegiance to the United States.             She has

taught her children that the United States is their enemy.

Therefore, there are no compelling reasons for her to remain

here.7    If released on any conditions, she will likely leave the

country that is her enemy and take refuge among the diaspora

comprising of other genocidaires.

     The Defendant attempts to attack the statement of Special

Agent Andersen (and the witnesses) through the affidavit of

Attorney Normand Marquis, who represents the Defendant’s husband

before the ICTR.      Attorney Marquis claims that

     I am personally aware of the procedure by which the
     U.S. Government agents must have collected information
     while in Rwanda. M. Andersen would not have been
     permitted by the Rwandan government to roam about and
     interview witnesses. He would have needed Rwandan
     government oversight and permission.

(emphasis added).      Attorney Marquis further states:

     From evidence tendered before the ICTR and from my
     personal experience and knowledge, it is self evident
     that no one can go in Rwanda to conduct investigations
     without the government being made aware and authorize


7
 In addition, there are no tangibles holding her here; she
currently lives in a house she rents, and the home she previously
owned was foreclosed.

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     these investigations, the reasons for the
     investigations and the subject of those. Even photos
     of site crimes cannot be taken without previously being
     authorized and anyone who acts otherwise faces
     immediate imprisonment.

First, Attorney Marquis does not explain his basis of knowledge

for being “personally aware” of U.S. government procedures and

the restrictions, if any, placed by the Rwandan government on the

investigative activities of the U.S. government.         In addition, he

states that the agents “must have” followed certain procedures.

He does not and cannot claim that he has any knowledge that they

in fact did; even if he had some general knowledge of

restrictions placed by Rwandan authorities on other

investigators, he has no personal knowledge of what Special Agent

Andersen did in this investigation, which was not unduly

restricted or influenced by the Rwandan government.

Restrictions Attorney Marquis might have faced have nothing to do

with the relationship between two sovereign governments.          The

requirements of that relationship would necessitate U.S.

government receiving permission for criminal investigators to

operate in Rwanda, but that does not mean that the Rwandan

government would exercise any “oversight” over such

investigation8, or that any Rwandan government official would


8
 The only advance notice would be in connection with some
prisoner witnesses; a member of the Rwandan prosecutor’s office
would provide the U.S. investigators with information concerning
where a particular prisoner was located and a letter of
introduction to the particular prison. On occasion, additional

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participate in interviews conducted by the U.S. investigators.

It is quite a stretch to suggest that Rwandan government notice

and authorization to U.S. officials to conduct investigations,

puts the Rwandan government in a position to script the testimony

of witnesses.   The suggestion is totally unsupported in reason or

in fact; even if the Rwandan government had wanted to manipulate

the witnesses’ statements, they were not given the opportunity to

do so and there is no evidence that they did.

     Despite Mr. Marquis’ opinion that it would be impossible

without being arrested, agents and attorneys did in fact “wander”

around Rwanda without an escort of a Rwandan government official

and took photographs at a number of different locations, without

forewarning to Rwandan officials and without objection or

harassment.   Many of these photographs were provided to the

Defendant in automatic discovery.        The only time there was any

Rwandan government official present when pictures were taken was

when certain sites were identified by a prisoner who was in




prisoner witnesses were interviewed without any advance notice
whatsoever when another potential witness in the same prison was
identified. No advance notice was necessary with reference to
witnesses who were not in custody. The only participation any
member of the Rwandan prosecutor’s office had in connection with
non-prisoner witnesses, was to assist in finding a limited number
of all the witnesses interviewed on the day they were
interviewed; there is no phone book to consult, outside of the
capital it is rare to see a street sign, and many roads are
unnamed. In connection with the majority of the witnesses, even
this limited assistance was not utilized.

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custody and an armed guard escorted the prisoner.9

     Further, Attorney Marquis states that

     [i]t is striking that even the same words or
     expressions that were opposed to my client are now
     attributed to his wife by the witnesses that were
     presented to M. Andersen for interviewing.

First, as stated above, the witnesses were not “presented” to

Special Agent Andersen.     Second, the Defendant and her husband

were actively advocating the genocidal actions of targeting the

Tutsis in Butare during the period (approximately) late April to

the end of June 1994.    They were co-conspirators and co-venturers

in a number of specific criminal acts.       Thus, it is not

surprising that there would be similarity in the accusations.           In

fact, the opposite would be true.

     In addition, due to the tens and hundreds of thousands of

genocide perpetrators, and limited resources of the ICTR and the

Rwandan government, it has not been possible to thoroughly

investigate every genocidal act that occurred.         It was not the

mandate of the ICTR to identify and prosecute all participants in

the genocide; their defendants are only a limited number of those

most culpable who were in leadership positions.         With reference

to charges in the courts of Rwanda, there was little incentive or


9
 When prisoners were just interviewed and not taken out in the
public by U.S. officials, the interviews would take place either
in a room at the prison or in a room at the prosecutor’s office
that was provided for the exclusive use of the U.S.
investigators. In both instances, no Rwandan government
officials (including prison guards) were present.

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ability to commence investigations into perpetrators who had fled

from Rwanda prior to the commencement of the gacaca system or

widespread judicial proceedings.         It is, therefore, hardly

surprising that Mr. Marquis did not seek nor passively learn of

inculpatory evidence related to the Defendant, and it is

questionable if he would be inclined or permitted to do so given

his obligations to his client.

2.   Defendant claims that since a defendant in another case was
     released on similar charges, that this Defendant ought to be
     released

     The Defendant points to the case of Lazare Kobagaya as an

example of a similarly situated defendant who was released.

However, there are more significant differences than there are

similarities between Kobagaya and this Defendant.         Kobagaya is 82

years old and in poor health.      Although he had traveled overseas

in 2005 and 2008, that was before Kobagaya had knee replacement

surgery.   See Order of Release of Magistrate Judge Bostwick in

the Kobagaya case dated April 29, 2009.        In addition, in

Kobagaya, both the government and pre-trial Services agreed to

Kobagaya’s release.

     In this case, the Defendant is younger, is more able to and

has traveled more extensively.      She has significant contacts with

individuals overseas and with other genocidaires.         Although she

lives in New Hampshire with her family, her roots are not deep.

In this case, unlike in Kobagaya, both the government and Pre-


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Trial Services agree that detention is necessary.

     In addition to different relative positions, the Defendant's

crimes are also different from Kobagaya's.        The types of

activities which the Defendant engaged in during the genocide

were more diverse, covered a longer period of time, and there are

more anticipated witnesses supporting them.

     The fact that the ICTR did not select the Defendant as one

of the few individuals who they could prosecute as they tried to

limit defendants, or that another sovereign did not conduct an

investigation of a defendant who resided in the United States

does nothing to undermine the strength of the case, or the tragic

and horrific acts which the Defendant is alleged to have

committed.

Perjury and Subornation of Perjury by Munyenyezi

     The Defendant attached to her motion excerpts of her

testimony before the ICTR during the trial of her husband Arsene

Shalom Ntahobali.    First, in connection with her testimony on

February 27, 2006, the excerpt provided begins at page 47 with

the cross-examination.     The first 30 pages of the transcript of

that day consists of the examination by attorney Marquis, whose

affidavit is included in the Defendant’s filings in this case.         A

complete transcript of Defendant’s testimony on that date is

attached hereto and marked Exhibit A.

     As discussed more fully in a short sealed supplemental


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memorandum that is being filed this date, the transcript of her

testimony demonstrates that the Defendant is willing to lie10

(not only to U.S. officials for her own benefit, but also) under

oath to an international tribunal during a genocide trial in

order to try and help her husband.       This is relevant to whether

the Court can release the Defendant on the promise that she

follow the orders of this Court.

     Furthermore, the Defendant received instructions from her

husband concerning what witnesses should say during their

testimony.   Attached hereto and marked Exhibit B is a translation

of a letter from Ntahobali to the Defendant, that was seized

during the search of her home.      In the letter, Ntahobali gave the

Defendant instructions concerning what she (the Defendant) should

tell a witness to state during testimony.        The Defendant did not

just commit perjury herself, she also assisted her husband in

communicating with, for example, her sister Prudence Kantengwa,

who was also a defense witness.      Attached hereto and marked

Exhibit C is a letter from Ntahobali to Kantengwa that included

excerpts and citations to the testimony of other witnesses

(including the Defendant) and suggestions as to what Kantengwa

should say during her testimony.11


10
 The Defendant also lied about facts that will be at issue in her
trial.
11
 Ntahobali told his sister-in-law (currently a defendant in a
pending federal case in the District of Massachusetts) “you have

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Conclusion

        For the reasons stated in the Magistrate Judge’s Order of

Detention, and for the reasons set forth above and in the

Affidavit of Special Agent Andersen in support of the warrant to

search the Defendant’s home, there are no conditions or

combination of conditions that will reasonably assure the

appearance of the Defendant or the safety of the community;

therefore the Defendant should continue to be detained.

                                     Respectfully submitted,

                                     Gretchen Leah Witt,
                                     Attorney for the United States,

                                     Acting Under Authority
                                     Conferred by 28 U.S.C. §515

                               By:    /s/ Jeffrey Auerhahn
                                     Jeffrey Auerhahn and
                                     Aloke S. Chakravarty
                                     Special Assistant U.S. Attorneys

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                                      /s/ Jeffrey Auerhahn
                                     Jeffrey Auerhahn
                                     Special Assistant U.S. Attorney


Date:        October 1, 2010



never seen this document” and “[t]he witnesses are not supposed
to see this.”

                                       15
